     Case 2:18-cr-00625-JAK Document 29 Filed 10/30/18 Page 1 of 4 Page ID #:133



1    NICOLA T. HANNA
     United States Attorney
2    LAWRENCE S. MIDDLETON
     Assistant United States Attorney
3    Chief, Criminal Division
     VERONICA DRAGALIN (Cal. Bar No. 281370)
4    Assistant United States Attorney
     Public Corruption and Civil Rights Section
5         1500 United States Courthouse
          312 North Spring Street
6         Los Angeles, California 90012
          Telephone: (213) 894-0647
7         Facsimile: (213) 894-0141
          E-mail:    veronica.dragalin@usdoj.gov
8
     Attorneys for Plaintiff
9    UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 18-625-JAK

13             Plaintiff,                    JOINT DISCOVERY REPORT

14                   v.

15   SCOTT SEO, and
     WILBUR M. SALAO,
16
               Defendants.
17

18

19        Plaintiff, United States of America, by and through its counsel
20   of record, the United States Attorney for the Central District of
21   California, and defendants SCOTT SEO and WILBUR M. SALAO, by and
22   //
23   //
24   //
25   //
26   //
27   //
28   //
     Case 2:18-cr-00625-JAK Document 29 Filed 10/30/18 Page 2 of 4 Page ID #:134



1    through their respective counsel of record as indicated below, hereby

2    submit the attached joint discovery report.

3    Dated: October 29, 2018              Respectfully submitted,

4                                         NICOLA T. HANNA
                                          United States Attorney
5
                                          LAWRENCE S. MIDDLETON
6                                         Assistant United States Attorney
                                          Chief, Criminal Division
7

8                                               /s/
                                          VERONICA DRAGALIN
9                                         Assistant United States Attorney

10                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
11
     Dated: October 30, 2018
12                                         /s/ via e-mail authorization
                                          STANLEY L. FRIEDMAN
13
                                          Attorney for Defendant
14                                        SCOTT SEO

15   Dated: October 29, 2018
                                           /s/ via e-mail authorization
16                                        ANTHONY M. SOLIS

17                                        Attorney for Defendant
                                          WILBUR M. SALAO
18

19

20

21

22

23

24

25

26

27

28

                                          2
     Case 2:18-cr-00625-JAK Document 29 Filed 10/30/18 Page 3 of 4 Page ID #:135



1                                  DISCOVERY REPORT
2         Defendants SCOTT SEO (“SEO”) and WILBUR M. SALAO (“SALAO”) have
3    been charged with one count of conspiracy, in violation of 18 U.S.C.
4    § 371, four counts of honest services mail fraud, in violation of 18
5    U.S.C. §§ 1346, 1341, four counts of honest services wire fraud, in
6    violation of 18 U.S.C. §§ 1346, 1343, and defendant SEO has been
7    additionally charged with four counts of bribery concerning programs
8    receiving federal funds, in violation of 18 U.S.C. § 666(a)(2). These
9    charges arise out of an ongoing scheme whereby defendant SEO
10   allegedly paid bribes and kickbacks to defendant SALAO, and defendant
11   SALAO, in turn, took official acts to benefit defendant SEO
12   financially.
13        Status of Discovery
14   To date, the government has produced over 5,700 pages of discovery to
15   defendants, as well as numerous audio and video recordings and other
16   native files.   A significant portion of the discovery is subject to a
17   stipulated Protective Order filed by the parties in this case.            In
18   addition, the government has offered to make available dozens of
19   additional audio recordings in the case, as well as more than 3,000
20   pages of confidential documents obtained from the California
21   Department of Alcoholic Beverage Control.        The government is aware of
22   its ongoing discovery obligations and will continue to comply with
23   them.Disputes
24        At this time, there are no discovery disputes.

25        Anticipated Motions

26        At this time, the government expects to file motions in limine

27   in advance of trial.     At this time, defendants have not had an

28   opportunity to assess whether any pretrial motions will be filed.

                                          3
     Case 2:18-cr-00625-JAK Document 29 Filed 10/30/18 Page 4 of 4 Page ID #:136



1    The parties may decide to file other motions as the trial date

2    approaches, and will adhere to the Court’s deadlines.

3         Expected Trial Date

4         The parties do not expect to proceed on the current trial date

5    of December 11, 2018, in light of the complexity of the case and the

6    amount of discovery, and expect to file a stipulation and proposed

7    order requesting a continuance of the trial date, if a resolution by

8    plea agreement is not reached in advance of the current trial date.

9         Anticipated Length of Trial

10        The government estimates five trial days for its case in chief.

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                          4
